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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NORTH DAKOTA


The Bluffs of Williston, LLC,

               Plaintiff(s),

       vs.                                                Case No. 1:24-cv-00128-CRH

Auto-Owners Insurance Company,

               Defendant(s).


   JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE UNDER FEDERAL
                    RULE OF PROCEDURE 41(A)(1)(ii)

       The Parties having settled this dispute, it is hereby stipulated and agreed that the above-

captioned case, including all remaining claims and counterclaims, is voluntarily dismissed with

prejudice under Federal Rule of Civil Procedure 41(A)(1)(ii).

 Dated: December 23, 2024                        Dated: December 23, 2024

 FREDRIKSON & BYRON, P.A.                        ARTHUR, CHAPMAN, KETTERING,
                                                 SMETAK & PIKALA, P.A.

 /s/ Brandon R. Underwood
 Brandon R. Underwood                            /s/ Stephen M. Warner
 FREDRIKSON & BYRON, P.A.                        Stephen M. Warner (ND ID #08319)
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 Attorneys for Plaintiff                         Attorney for Defendant(s)

                                     Certificate of Service

       The undersigned hereby certifies that a true copy of the foregoing document was served
upon counsel through the Court’s CM/ECF electronic filing system on December 23, 2024.

                                                                   /s/ Christina Laage
